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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11                                         ) Case No. 2:12-cr-0300-MCE
     United States of America,             )
12                                         ) STIPULATION & ORDER TO MODIFY
     Plaintiff,                            ) CONDITIONS OF PRE-TRIAL RELEASE
13                                         )
           v.                              )
14                                         ) Judge: Hon. Morrison C. England
                                           )
15   Balwinder Singh Khangura,             )
                                           )
16   Defendant.                            )
                                           )
17                                         )

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19         It is hereby stipulated by and between the parties hereto through their

20   respective counsel, Jared Dolan, Assistant United States Attorney, attorney

21   for plaintiff, and Shari Rusk, counsel for defendant, that Mr. Khangura’s

22   conditions of pre-trial release be modified as follows:

23         Mr. Khangura requests, without objection from the government, that his

24   passport be turned over to his defense investigator for twenty four hours to

25   allow the investigator to bring the passport to the Indian Consulate and then

26   return the passport to pre-trial services.   Mr. Khangura makes this request

27   because his brother is travelling to India to handle arrangements following

28   the death of their father and it is necessary for Mr. Khangura’s brother to




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 1   have his power of attorney while in India.   Pre-trial services takes no

 2   position on this matter.   Mr. Khangura asks that his passport be released to

 3   his investigator forthwith.   At no time will Mr. Khangura be in possession of

 4   his passport.

 5
     Dated: January 28, 2013              Respectfully submitted,
 6

 7                                        __/s/ Shari Rusk___
                                         Shari Rusk
 8                                        Attorney for Defendant
                                          Balwinder Singh Khangura
 9

10                                        /s/Jared Dolan
                                          Assistant United States Attorney
11

12                                        ORDER

13         IT IS HEREBY ORDERED that Defendant Balwinder Singh Khangura’s passport

14   be released to Defendant Khangura’s defense investigator forthwith for a

15   twenty-four (24) hour duration and then immediately returned to pre-trial

16   services.

17   DATED:February 1, 2013

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20                                  _____________________________________________
                                    MORRISON C. ENGLAND, JR., CHIEF JUDGE
21                                  UNITED STATES DISTRICT JUDGE
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